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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
JOSE MARIA DeCASTRO, a/k/a           )
CHILLE DeCASTRO, a/k/a DELETE        )
LAWZ,                                )
      Plaintiff,                     )
                                     )
v.                                   )        C.A. No. 1:22-cv-11421-ADB
                                     )
JOSHUA ABRAMS, a/k/a                 )
ACCOUNTABILITY FOR ALL, KATE         )
PETER, a/k/a MASSHOLE TROLL          )
MAFIA,                               )
      Defendants.                    )
____________________________________)

           JOSHUA ABRAMS’ MEMORANDUM OF LAW IN SUPPORT OF
           MOTION TO DISMISS THE FIRST AMENDED COMPLAINT AND
                        SUPPLEMENTAL COMPLAINT

I.     PRELIMINARY STATEMENT

       NOW COMES defendant Joshua Abrams a/k/a Accountability for All (“Abrams”) who

respectfully moves that the Court dismiss the First Amended Complaint and Supplemental

Complaint filed by plaintiff Jose Maria DeCastro a/k/a Chille DeCastro, a/k/a Delete Lawz

(“DeCastro”) for failure to state a claim for which relief can be granted. See FED. R. CIV. P.

12(b)(6). As currently pled, DeCastro has only alleged one count against Abrams – copyright

infringement pursuant to 17 U.S.C., §§ 501, et seq. Given DeCastro’s admitted goal in this case

which is to vex, not to win – Abrams requests that the Court dismiss not only the sole count

against Abrams in the First Amended and Supplemental Complaints, but also that the Court

reject any further request for leave to amend the complaint, and that such previously pled causes

of action (i.e., defamation and intentional infliction of emotional distress) be dismissed, with

prejudice, as well.




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II.    PROCEDURAL BACKGROUND

       On September 2, 2022, DeCastro filed a lawsuit against Abrams and co-defendant Kate

Peter, a/k/a Masshole Troll Mafia (“Peter”) alleging defamation-based claims, including

defamation and intentional infliction of emotional distress. See COMPLAINT FOR DEFAMATION

[ECF No. 1] (hereinafter referred to as the “Complaint”). These claims purport to be predicated

on statements made by Abrams and Peter on various YouTube channels during ongoing debate,

commentary, criticism, and argument between the parties. See id. On November 7, 2022,

Abrams answered DeCastro’s Complaint and counterclaims against DeCastro for various

defamatory statement DeCastro made about Abrams on YouTube. See JOSHUA ABRAMS A/K/A

ACCOUNTABILITY FOR ALL’S ANSWER, JURY DEMAND, AFFIRMATIVE DEFENSES AND

COUNTERCLAIMS [ECF No. 53] (hereinafter referred to as “Abrams’ Counterclaims”). Two days

later, DeCastro docketed a letter with the Court claiming that he had intended to dismiss his

Complaint without prejudice. See ECF No. 55; see also ECF Nos. 56, 58, 59, 60, 66, 73, 80, 82,

and 83 (seeking similar relief). In each instance, citing to FED. R. CIV. P. 41, and recognizing

that both Abrams and Peter had answered the Complaint and filed counterclaims, the Court could

not dismiss the lawsuit without the consent of all parties. See, e.g., ECF No. 57, 67, 74, 81, 85;

see also ECF No. 64 (Abrams and Peter declining to consent to dismissal). It is believed that

DeCastro mightily attempted to have the defamation-based claims dismissed because he desires

to re-file it in a California Court, making it more difficult for Abrams to defend given his

residency in Massachusetts. See FIRST MOTION TO TRANSFER CASE [ECF No. 50]. That request

was denied. See ECF No. 52.

       As a blatant end-run around the Court’s orders rejecting his bid to dismiss the

defamation-based claims or transfer to the Southern District of California, DeCastro chose




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instead to amend his complaint. On November 16, 2022, DeCastro amended his complaint to

raise allegations of copyright infringement based on Abrams’ alleged unauthorized use of

DeCastro’s YouTube videos on his own channels. See FIRST AMENDED COMPLAINT [ECF No.

62] (hereinafter referred to as the “FAC”). The sole count of the First Amended Complaint is a

claim for copyright infringement, pursuant to federal statute: 17 U.S.C., §§ 501, et seq. See id.1

DeCastro then filed, with Leave of Court, his Supplement Complaint which purports to add

YouTube (Google, LLC) and John Does 1-20 as defendants. See SUPPLEMENTAL COMPLAINT

[ECF No. 79] (hereinafter the “Supp. C.”). The Supplemental Complaint does not include any

counts and it is unclear whether DeCastro is pursuing any causes of action at all against Abrams

at this juncture. See FED. R. CIV. P. 8(a)(1) (requiring DeCastro to plead a statement of the claim

showing he is entitled to relief).

III.    FACTUAL BACKGROUND

        Assuming, without conceding, that both the First Amended Complaint and Supplemental

Complaint are both operative at this point, Abrams will draw the facts as set forth in these

pleadings. Abrams, who is acting pro se in this litigation, purports to teach constitutional law.

See FAC, at ¶ 2. Although DeCastro does not indicate whether he is licensed to practice law in

any jurisdiction, nor has he identified any law school or other academic institution where he

teaches, he purports to teach law through video content that is published on YouTube. Id., at ¶ 3.

He alleges that both Abrams (and co-defendant Peter), “to save from having to create content

themselves,” are “stealing [his] content on a grand scale.” Id., at ¶ 4.




1
  DeCastro also mentioned a civil-RICO cause of action pursuant to 18 U.S.C., § 1962, but failed
to actually develop this claim in any manner whatsoever in the First Amended Complaint or
Supplemental Complaint. See FAC, at ¶¶ 5, 7 and 8. To the extent DeCastro believes this to be
a viable claim, Abrams requests that it be dismissed as well.


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        DeCastro does not plead that Abrams is, like him, a constitutional law scholar. Instead,

DeCastro identifies Abrams as follows:

            Defendant Abrams’s Youtube channel features videos of Defendant
            Abrams entering limited and non public forums – libraries, child and
            protective support service facilities, city halls, post offices – to film
            employees and visitors in purposeful violation of facility policies
            prohibiting filming. Defendant Abrams then refuses to leave the facility
            when commanded, refuses to cease the filming, and publishes to his
            monetized Youtube channel the controversial employee and visitor
            reactions that his filming triggers on video. . . .

See COMPLAINT, at ¶ 6, n. 1. Despite these varying purposes as pled by DeCastro, he pleads – in

conclusory fashion – that Abrams, and others, copied DeCastro’s content, for monetary gain, in

the same YouTube content market, without consent. See FAC, at ¶ 4. He makes no allegations

regarding the purported effect of Abrams’ conduct on the market for DeCastro’s content.

        DeCastro claims to have published over 800 YouTube videos on his YouTube channel.

Id., at ¶ 13. Some of these works were identified in Exhibit 1 to the FAC. Although DeCastro

baldly claims that Abrams copied and distributed DeCastro’s content – no such occurrence has

been identified in either the First Amended Complaint or the Supplemental Complaint. The only

video created by Abrams that is identified in any pleading goes back to the now superseded

original Complaint. See COMPLAINT, at ¶ 11; citing Delete Laws truth! Lackluster & James

Freeman Join, <https://www.youtube.com/watch?v=xEJgTlXVfEg> (Jun. 23, 2022).2 In this

video, there appears to only be a glancing reference to DeCastro’s video that was edited in a way

to present it in a satirical and critical manner. See id. (1:22:30). This, alone, is insufficient to

support a colorable claim for relief.




2
  It is believed that DeCastro’s Complaint contains a scrivener’s error, as the YouTube link
identified in that paragraph directs the reader to another unrelated video. The correct link is
indicated in the text, above.


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IV.    ARGUMENT

       A.      STANDARD OF REVIEW

       In considering a motion to dismiss pursuant to FED. R. CIV. P. 12(b)(6), this Court accepts

only the well-pleaded facts in the operative pleading as true; “legal conclusions and those factual

allegations ‘too meager, vague, or conclusory to remove the possibility of relief from the realm

of mere conjecture’” must be “set aside.” Starr Surplus Lines Ins. Co. v. Mountaire Farms, Inc.,

920 F.3d 111, 114 (1st Cir. 2019); quoting In re Curran, 855 F.3d 19, 25 (1st Cir. 2017). The

Court must then “consider whether the remaining well-pleaded allegations are ‘sufficient to

support the reasonable inference that the defendant is liable for the misconduct alleged.’” Id.

quoting García-Catalán v. United States, 734 F.3d 100, 103 (1st Cir. 2013). Ultimately, the

plaintiff must state a claim that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009); Rocket Learning, Inc. v. Rivera-Sanchez, 715 F.3d 1, 8 (1st Cir. 2013). Stating a

plausible claim requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not suffice. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007). “Conclusory allegations that merely parrot the relevant legal standard are disregarded, as

they are not entitled to the presumption of truth.” Manning v. Boston Med. Ctr. Corp., 725 F.3d

34, 43 (1st Cir. 2013); see also Iqbal, 556 U.S., at 679 (a court reviewing the plausibility of a

claim may disregard allegations that amount to mere legal conclusions, which are not entitled to

the assumption of truth). Under this standard, DeCastro’s claims must be dismissed.

       B.      DECASTRO FAILED TO PLEAD A VIABLE COPYRIGHT INFRINGEMENT CLAIM

       To establish copyright infringement under the Copyright Act, DeCastro must prove two

elements “(1) ownership of a valid copyright, and (2) copying of constituent elements of the

work that are original.” Lotus Dev. Corp. v. Borland Int’l, Inc., 49 F.3d 807, 813 (1st Cir. 1995),




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aff’d, 516 U.S. 233 (1996); quoting Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361

(1991). DeCastro has failed to meet this burden in both respects.

       DeCastro has failed to plead an ownership interest in the works he claims is copyrighted.

Ordinarily, ownership vests in the author if he can prove the work is original and he complied

with statutory formalities. Soc’y of Holy Transfiguration Monastery, Inc. v. Gregory, 689 F.3d

29, 40 (1st Cir. 2012). Indeed, an author can establish prima facie ownership of his works if he

obtains a certificate of copyright registration. Id. Save for registration, it is DeCastro’s burden

to prove exclusive ownership of his works. DeCastro has not pled in the First Amended or

Supplemental Complaint that his works are registered. He has also failed to plead that he has

exclusive rights to these materials. And this is for good reason: DeCastro has granted Abrams

(among others) a license to use his works that are posted to his YouTube channels. As contained

in YouTube’s terms of service:

           Rights you Grant
           You retain ownership rights in your Content. However, we do require you
           to grant certain rights to YouTube and other users of the Service, as
           described below.

           License to YouTube
           By providing Content to the Service, you grant to YouTube a worldwide,
           non-exclusive, royalty-free, sublicensable and transferable license to use
           that Content (including to reproduce, distribute, prepare derivative works,
           display and perform it) in connection with the Service and YouTube’s (and
           its successors' and Affiliates') business, including for the purpose of
           promoting and redistributing part or all of the Service.

           License to Other Users
           You also grant each other user of the Service a worldwide, non-exclusive,
           royalty-free license to access your Content through the Service, and to use
           that Content, including to reproduce, distribute, prepare derivative works,
           display, and perform it, only as enabled by a feature of the Service (such as
           video playback or embeds). For clarity, this license does not grant any rights
           or permissions for a user to make use of your Content independent of the
           Service.




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See YOUTUBE, “Terms of Service,” https://www.youtube.com/t/terms (Jan. 5, 2022); see also

Bus. Casual Holdings, LLC v. YouTube, LLC, No. 21-CV-3610 (JGK), 2022 WL 837596, at *1

(S.D.N.Y. Mar. 21, 2022).3 By granting users like Abrams the royalty-free right to use and

reproduce his materials, DeCastro has failed, as a matter of law, to establish ownership in the

works he lists. See Estate of Hevia v. Portrio Corp., 602 F.3d 34, 41 (1st Cir. 2010) (use of

copyrighted work within the bounds of a license do not infringe on the copyright).

       DeCastro’s claims also fail because he has not identified in either the First Amended

Complaint or the Supplemental Complaint any such copyrighted material that Abrams

purportedly stole. While DeCastro lists several works he claims to be his own, he does not once

cite to any of Abrams’ materials that allegedly used DeCastro’s copyrighted works. Instead, in a

conclusory fashion, DeCastro merely states that Abrams published DeCastro’s content for

monetary gain. This is insufficient to survive a motion to dismiss under the well-established

Iqbal/Twombly standard. Having failed to articulate any such works, DeCastro’s copyright

infringement claims necessary fail as a matter of law.

       C.      DECASTRO’S CLAIMS ARE BARRED BY THE FAIR USE DOCTRINE

       The fair use doctrine is a safe haven from copyright infringement. It “creates a privilege

for others to use . . . copyrighted material in a reasonable manner despite the lack of the owner’s

consent.” Gregory, 689 F.3d, at 59; quoting Weissmann v. Freeman, 868 F.2d 1313, 1323 (2d




3
   The Court may consider YouTube’s terms of service in adjudicating this motion to dismiss.
See Force v. Facebook, Inc., 934 F.3d 53, 59 n. 5 (2d Cir. 2019) (appeal from an order granting a
motion to dismiss; explaining that Facebook’s “publicly available terms [of service]” are
“subject to judicial notice” (citing FED. R. EVID. 201(b)(2))). Moreover, the terms of service may
be considered because they are integral to the complaint. Shandong Shinho Food Indus. Co.,
Ltd. v. May Flower Int’l, Inc., 521 F. Supp. 3d 222, 233 n. 2 (E.D.N.Y. 2021) (case alleging
trademark infringement; considering a license to the trademark on a motion to dismiss because
the license was “integral” to the complaint).


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Cir. 1989). The fair use doctrine states “the fair use of a copyrighted work . . . for purposes such

as criticism, comment, news reporting, teaching . . . , scholarship, or research, is not an

infringement of copyright.” See 17 U.S.C. § 107. While Abrams (and the Court) is left to guess

what works DeCastro believes have been improperly used by him in violation of DeCastro’s

copyright rights, to the extent Abrams has ever referred to DeCastro’s content at all, it

constituted criticism, critique, and commentary that is excluded from the protections of the

Copyright Act by the fair use doctrine.

       While the First Amended Complaint and Supplemental Complaint do not identify any

such unauthorized use of DeCastro’s work, the sole video referenced in this litigation (albeit in

the now-defunct original Complaint) is an edited thirty second clip where DeCastro essentially

states that he is an undesirable person and a criminal (murder, rapist, child molester, drug addict,

alcoholic, animal torturer, worst person ever, etc.). This thirty second segment was used by

Abrams as part of an hour and a half long commentary and criticism of DeCastro. It was not

used to teach constitutional law or to compete with DeCastro. It was used to criticize him. This

is textbook fair use. Peter, in her motion to dismiss, goes through the four statutory factors a

court can consider in conducting a fair use analysis in closer calls. While this analysis is

unnecessary given the clear fair use of Abrams in the sole video identified by DeCastro in this

litigation, Abrams adopts and incorporates the caselaw and logic cited by Peter in her motion.

See ECF No. 94. Vitally, where DeCastro complains about a truncated thirty second clip (out of

DeCastro’s library of over 800 YouTube videos); that does not talk about constitutional law, but

instead is relevant to Abrams’ hour and a half long debate, commentary and criticism of

DeCastro; and where there is nothing in the pleadings whatsoever about market value of

DeCastro’s work, it is clear that Abrams’ is not infringing on any copyrights owning to




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DeCastro, and any such publication is protected by the fair use doctrine.4 Accordingly, the

copyright claim fails as a matter of law and must be dismissed.

       D.      THE CIVIL-RICO CAUSE OF ACTION SHOULD BE DISMISSED

       DeCastro referenced a civil-RICO cause of action in the First Amended Complaint, but it

is unclear what facts he uses to support this claim. See FAC., at ¶¶ 5, 7 and 8. Indeed, none of

the requisite elements necessary to plead a colorable civil-RICO cause of action are articulated in

either the First Amended Complaint or the Supplemental Complaint. Accordingly, the civil-

RICO cause of action should also be dismissed with prejudice.

       E.      THE COURT SHOULD DECLINE LEAVE TO ALLOW DECASTRO TO AMEND HIS
               COMPLAINT FOR A FOURTH TIME

       DeCastro has now filed an original complaint, the First Amended Complaint and the

Supplemental Complaint in this action. He should not be granted leave to amend for a fourth

time in a way that could (potentially) save any of his claims. This is because DeCastro has used

this lawsuit in a perverse manner seeking not to win on the merits, but to instead vex the

defendants. DeCastro has brazenly admitted to these ulterior motives:

            I will break [Peter and Abrams] financially. They will have to hire a lawyer.
            I will file motion after motion after and I’ll just keep going legally after
            them until I break them, until they can’t afford to hire a lawyer anymore so
            they run out of money. That’s what I’m gonna do, I’m gonna break them.

See ECF No. 71, at * 1. Here, where DeCastro has already been given leave to amend twice

before, the fourth bite at the apple serves only to further Abrams’ vexatious motives. See City of

Mia. Fire Fighters' & Police Officers' Ret. Tr. v. CVS Health Corp., 46 F.4th 22, 35 (1st Cir.




4
 To the extent DeCastro’s complaint could be read to discuss other potential copyright
violations, Abrams is without sufficient knowledge to determine what those violations are, and
he declines to guess. Nevertheless, to the extent DeCastro identifies any other videos used by
Abrams, it is likely that the use was similarly protected by fair use doctrine.


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2022) (affirming denial of leave to amend when plaintiffs sought “a third bite of the apple in the

form of a second amended complaint”); Aponte-Torres v. Univ. of P.R., 445 F.3d 50, 58 (1st Cir.

2006) (serial amendments may be given closer scrutiny because “busy trial courts, in the

responsible exercise of their case management functions, may refuse to allow plaintiffs an

endless number of trips to the well”).

          Similarly, in ruling on the motion to dismiss, Abrams asks this Court to dismiss all

claims, including the defamation-based claims in the original Complaint that have seemingly

been abandoned, with prejudice. Abrams is wary that DeCastro has abandoned these claims

intentionally so that he could do an end-run around this Court’s orders declining to accept his

belatedly filed notice of voluntary dismissal of the defamation-based claims. Abrams’ concern is

that DeCastro may re-file the defamation cause of action in a California court (a venue that lacks

personal jurisdiction over Abrams, a Massachusetts resident with insufficient ties to California).

The California court should nonetheless dismiss such a re-filed claim, not only for a lack of

personal jurisdiction, but under the doctrine against claim splitting, which precludes a litigant

from strategically pursuing in a subsequent suit claims which “were or could have been brought

against the original defendant in the original suit.” Airframe Sys., Inc. v. Raytheon Co., 601 F.3d

9, 17–18 (1st Cir. 2010); see also Mendoza v. Amalgamated Transit Union Int’l, 30 F.4th 879,

886 (9th Cir. 2022).

          Subject to reserving his rights to challenge an amendment on the merits, Abrams will

agree to give DeCastro one final chance to re-plead the defamation-based causes of action in a

Third Amended Complaint, with Abrams’ assent, so long as it is filed within ten (10) days of

receiving this motion.5 Should DeCastro decline the invitation, Abrams asks this Court to rule



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    The ten days will likely have elapsed by the time DeCastro files an opposition to this motion.


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that all claims raised in the original Complaint are dismissed, with prejudice, and reject any

further attempts by DeCastro to amend the complaint as futile, unduly prejudicial, in bad faith,

and in furtherance of DeCastro’s documented dilatory motives. Foman v. Davis, 371 U.S. 178,

182 (1962).

V.     CONCLUSION

       For the reasons stated herein, the Court should dismiss all claims that were or could have

been raised in the original Complaint, the First Amended Complaint and the Supplemental

Complaint, including the copyright infringement claim, the civil-RICO claim, and all

defamation-based claims, with prejudice, and without leave to amend.

                                                       Respectfully Submitted,

                                                       /s/ Joshua N. Garick, Esq.
                                                       __________________________________
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                                                       Accountability for All
Dated: December 23, 2022


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.


                                                              /s/ Joshua N. Garick
                                                              Joshua N. Garick (BBO #674603)

Dated: December 23, 2022




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